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                                                                                                                        S. DISTRICT COURT

                                 UNITED S TATES DISTRICT COURT
                                                             for the                                                •~U~`~ ~ 4 273
                                               Central District of California                        ~     CENTRAL DI$jRICT OF CAu ORNIA

                United States of America                        )
                            v.
                                                                         Case No. ~j,.~ ~                `~,~ 1 ~ ~~L.(
  ~V ~c,~~f~'~ ~4~~ Y 1'~ V~"~                                  )
                        Defendant                                ~                                             `~           ~'


                                      WAIVER OF A PRELIMINARY HEARING

        I understand that I have been charged with an offense in a criminal complaint filed in this court, or charged with
violating the terms of probation or supervised release in a petition filed in this court. A magistrate judge has informed
me of my right to a preliminary hearing under Fed. R. Crim. P. 5, or to a preliminary hearing under Fed. R. Crim. P.
32.1.

         I agree to waive my right to a preliminary hearing under Fed. R. Crim. P. S or Fed. R. Crim. P. 32.1.




Date: ~f ~       ~~                                                     C ~~—                                         .
                                                                                       Defendant's signature



                                                                                                         attorney




I have translated this Waiver of Preliminary Hearing to the defendant in the
language.

Date
                                                                                   Signature of Interpreter




CR-110(06/12)                                    Waiver of a Preliminary Hearing
